        Case 2:19-cv-01163-WB Document 1 Filed 03/19/19 Page 1 of 9



                                         · ST ATES DISTRICT COL'RT
                                       , N DISTRICT OF PENNSYLVANIA

DANIEL MANATT A~D
GAREN MEGL'ERIAN

                                                     CIVIL   ACTIO~
                                                                       19           1163
               Plaintiffs,                           NO.
       v.

L'~ITED
      ST ATES DEPARTMENT OF                                                  F\LE.D
HOMELAND SECURITY,
                                                                              ~~\l' 91019
       and                                                                   -rE B.'fiKMAN. Clerk
                                                                            ~'          oep.C\er\<
                                                                           ey_        -
UNITED ST ATES CITIZE~SHIP AND
IMMIGRATION SERVICES,

               Defendants.


             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Plaintiffs Daniel Manatt and Garen Meguerian, by way of their Complaint against

Defendants the Department of Homeland Security (DHS) and Cnited States Citizenship and

Immigration Services (USC IS), a component of OHS, hereby states:

                                        INTRODUCTION

       1.      This action is brought under the Freedom of Information Act (FOIA), 5 U.S.C.

§552, to compel the USCIS to produce records responsive to a FOIA request for records

concerning the so-called "Zero-Tolerance Policy for Criminal Illegal Entry" (Zero-Tolerance

Policy) announced by the Department of Justice on or about April 6, 2018.

                                  JlJRISDICTION & VENUE

       2.      This Court has jurisdiction under 28 lJ .S.C. § 1331 and 5 U .S.C. §552(a)( 4 )(B).

       3.      Venue lies in the United States District Court for the Eastern District of

Pennsylvania under 5 U.S.C. §552(a)(4)(B) and 28 U.S.C. §139l(e)(l).
         Case 2:19-cv-01163-WB Document 1 Filed 03/19/19 Page 2 of 9



                                             PARTIES

       4.      Plaintiff Daniel Manatt is an adult individual, an attorney and a documentary

filmmaker residing in the Bethesda, Maryland.

       5.      Plaintiff Garen Meguerian is an adult individual and an attorney residing in

Chester County, Pennsylvania - within the jurisdictional limit of this Court.

       6.      Plaintiffs submitted the FOIA request at issue.

       7.      Defendant DHS is an agency of the Cnited States, and defendant USCIS is a

component of defendant OHS; Defendants have possession of and control over the records

sought by the Plaintiffs.

                                  FACTUAL BACKGROUND

       8.      On or about October 9, 2018, Plaintiffs submitted a FOIA request to CSCIS,

seeking copies of certain communications pertaining to the Zero-Tolerance Policy.
  '·

       9.      Specifically, Plaintiffs requested:

               I.    Any and all records reflecting communications with Lee Francis Cissna
       concerning the so-called '"Zero-Tolerance Policy for Criminal Illegal Entry" announced
       by the Department of Justice on or about April 6, 2018 (hereinafter '"Zero-Tolerance
       Policy").

              2.     Any and all records reflecting communications by and between USCIS
       Leadership and the Department of Justice concerning the Zero-Tolerance Policy.

              3.     Any and all records reflecting communications by and between USCIS
       Leadership and the Trump Administration concerning the Zero-Tolerance Policy.

              4.     Any and all records reflecting communications by and between USCIS
       Leadership concerning the anticipated detention of children as an anticipated result of the
       Zero-Tolerance Policy.

               5.     Any and all records reflecting communications by and between CSCIS
       Leadership concerning the anticipated separation of children from their parents as an
       anticipated result of the Zero-Tolerance Policy.




                                                     2
 Case 2:19-cv-01163-WB Document 1 Filed 03/19/19 Page 3 of 9



        6.     Any and all records reflecting any objections by CSCIS Leadership to the
implementation of the Zero-Tolerance Policy and/or the detention of children or the
separation of children from their parents.

        7.      Any and all records reflecting communications at USCIS Leadership
concerning the consistency or inconsistency of the Zero-Tolerance Policy with
international law.

        8.     Any and all records reflecting communications by and between l)SCIS
Leadership concerning the consistency or inconsistency of the Zero-Tolerance Policy
with the laws and regulations of the United States.

       9.     Any and all records reflecting communications by and between USCIS
Leadership concerning efforts to reunite children with parents, separated as a result of the
Zero-Tolerance Policy.

        10.   Any and all records reflecting communications between CSCIS
Leadership and the US Health and Human Services Department I Office of Refugee
Resettlement concerning the Zero-Tolerance Policy.

        11.    Any and all records concerning any justification(s) offered for the
separation of children from their parents as a result of the Zero-Tolerance Policy.

        12.   Any and all records reflecting communications between USCIS
Leadership and the Department of Homeland Security concerning the Zero-Tolerance
Policy.

        13.     Any and all communication by and between CSCIS Leadership and
Stephen :vtiller, who serves as a senior advisor for policy for President Trump,
concerning the Zero-Tolerance Policy, the detention of children, and/or the separation of
children from their parents.

       14.    Any and all records reflecting communications between USCIS
Leadership and the Customs and Border Patrol concerning the Zero-Tolerance Policy.

       15.    Any and all records reflecting communications between USCIS
Leadership and the CS Immigration and Customs Enforcement concerning the Zero-
Tolerance Policy.

       16.    Any and all records reflecting communications between USCIS
Leadership and the Department of Defense concerning the Zero-Tolerance Policy.

       17.     Any and all records reflecting communications between USCIS
Leadership and any elected officials from the States of Texas, Arizona and California
concerning the Zero-Tolerance Policy.

       18.    Any and all records reflecting communications between USCIS
Leadership and any private contractors operating under the color of federal authority,

                                         3
         Case 2:19-cv-01163-WB Document 1 Filed 03/19/19 Page 4 of 9



       including but not limited to ~VM, Southwest Key Programs and General Dynamics,
       concerning the Zero-Tolerance Policy.

              19.     Any and all communication by and between Lee Francis Cissna and
       Stephen ~iller, who serves as a senior advisor for policy for President Trump,
       concerning immigration.

              20.    Any and all records reflecting communications between CSCIS
       Leadership and the ~ational Security Council concerning the Zero-Tolerance Policy.

              21.    Any and all records reflecting communications between USCIS
       Leadership and the Domestic Policy Council concerning the Zero-Tolerance Policy.

              22.     Any and all records reflecting an analysis of the anticipated or actual
       impact of the Zero Tolerance Policy on Flores Settlement Agreement.

               23.   Any and all records supporting or undermining the statement that
       "[f]amily groups are one of the most challenging populations to the integrity of the
       immigration enforcement system" - made in the announcement to the Zero-Tolerance
       Policy.

               24.     Any and all records supporting or undermining the statement that "[OHS]
       continues to diligently pursue numerous pathways to address this flow [of immigrants]
       consistent with our laws, in coordination with federal interagency, departmental and
       foreign partners" - made in the announcement to the Zero-Tolerance Policy.

              25.    Any and all records reflecting communications by and between USCIS
       Leadership concerning the consistency or inconsistency of the Zero-Tolerance Policy
       with the 8th Amendment to the Constitution of the Gnited States.

               26.    Any and all records reflecting communications by and between GSCIS
       Leadership concerning the consistency or inconsistency of the Zero-Tolerance Policy
       with the 14th Amendment to the Constitution of the United States and Title VII of the
       Civil Rights Act.

               27.   Any and all records reflecting communications by and between USCIS
       Leadership concerning the consistency or inconsistency of the Zero-Tolerance Policy
       with the Refugee Act of 1980.

               28.    Any and all records reflecting communications by and between USCIS
       Leadership concerning the consistency or inconsistency of the Zero-Tolerance Policy
       with the Cnited "t\ations 1951 Convention and the 1967 Protocol.

       10.     A true and correct copy of Plaintiffs' October 9, 2018 FOIA request is attached

hereto as Exhibit "A".

       11.     Plaintiffs included a request for a waiver of all fees in their FOIA request.

                                                 4
         Case 2:19-cv-01163-WB Document 1 Filed 03/19/19 Page 5 of 9



        12.     USCIS did not respond to or even acknowledge the FOIA request.

        13.     On December 20, 2018, Plaintiffs wrote to CSCIS's FOIA Officer Jill Eggleston,

enclosing another copy of the FO IA request, and demanding a response within the time

permitted under 5 C .S.C. §552.

        14.     A true and correct copy of Plaintiffs' December 20, 2018 correspondence is

attached hereto as Exhibit "B''.

        15.     On or about January 2, 2019, an individual purporting to be from CSCIS called

Plaintiff Meguerian to state that USC IS was working to compile the responsive records.

        16.     Nearly six months have passed since CSCIS received Plaintiffs' FOIA request,

and USCIS has neither made a final determination nor produced any records in response to

Plaintiffs' request.

                                           COlJSTI
                         FOIA - Failure to Disclose Responsive Records

        17.     Plaintiffs incorporate the preceding paragraphs of their complaint as though fully

set forth herein at length.

        18.     Under 5 U.S.C. §552(a)(6)(C)(i), Plaintiffs have exhausted all administrative

remedies with respect to their October 9, 2017 FOIA request.

        19.     Plaintiffs have a statutory right under FOIA, 5 C.S.C. §552(a)(3)(A), to the

records they requested and there is no legal basis for Defendants' failure to disclose them.

                                     PRAYER FOR RELIEF

        WHERE.FORE, Plaintiffs request that this Court:

        A.      Declare that Defendants' withholding of the requested records is unlawful;

        B.      Order Defendants to make the requested records available to Plaintiffs at no cost

                and without delay;


                                                 5
        Case 2:19-cv-01163-WB Document 1 Filed 03/19/19 Page 6 of 9



      C.     Award Plaintiffs their costs and reasonable attorneys' fees pursuant to 5 U.S.C.

             §552(a)( 4 )(E); and

      D.     Grant such other and further relief as this Court may deem just and proper.

                                    GAREN MEGUERIA.~, ATTORNEY AT LAW, LLC



March 18, 2019                             B~~g_u_e_r-ia-n---,,._,,,...__~~~
                                          PA ID No. 78588
                                          21 Industrial Boulevard, Suite 201
                                          Paoli, Pennsylvania, 19301
                                          gm(a),garenmlaw.9om
                                          (610) 590-2176
                                          Attorney for Plaintiffs




                                             6
                                             Case 2:19-cv-01163-WB Document 1 Filed 03/19/19 Page 7 of 9
      JS44 (Re> 061!7)                                                     W···                      JL COVER SHEET                                                                             19                           11
      fhe JS 44 civil cover 5heet and the mformatton contai "' h . m         replace nor supp:ement the filing and service of pleadmgs or other papers as requITed bf!a1?exat as
      provided by local rules of court ThIS form, approved by the Jud1c1al Conference of the Cmted States m September 1974, is reqmred for the use of the Clerk of Court for the
      purpose of mitJatmg the civil docket sheet fSff INS7Rl!CTJONS ON NF.XI PA<,[' Or THIS FORM1

                                                                                                                                   . Df.FF'.'JDANTS
                                                                                                                                   USUepf ofFforneland Security                                &   US C1t1zensh1p and lrnrn1grat1on
                                                                                                                                   Services


         (b)     County of Residence ofF!Tst Listed Plamuff                                                                          County of Residence off 1rst Listed Defendant
                                         rEXCEPT IN l · S P!AIV1lf.                                                                                                            (lN l: S PIAINl/Ff CA~ ~ OVJ YJ
                                                                                                                                     NOTE           IN LA;\;D C01'iDFMNAil01'i CASES, GS
                                                                                                                                                    THL TRACT Of LAND fNVOL VED

       (c) Attorneys (Ftrm Name Address and Telephnne Numher)                                                                         Attorneys fl/ KnawnJ
      Garen Meguenan. Attorney at Law. LLC
      21     Industrial Blvd.      Swte 201
      PaofJ. PA       19301

      II. BASISOFJURISDICTIO'.'lrnacean x                                      moneBoxnnty;                       III. CITIZE'.'JSHIP OF PRINCIPAL                                            PARTIESrPlacean x moneBoxforPta1n11ff
                                                                                                                             ff or DiversIt; Case> ( Jn/y)                                               and One Box for Defendant;
      'J l    l S Government                     ::-J 3 Federal Quesl1on                                                                                 PTF                     DEF                                                      PTF        DEF
                 Plamnff                                     (li S. (10,.ernment Not a Part}}                           C111zen of Tius State            '.1 l                   '.1    l   Incorporated or Pnnc1pal Place                 :J 4      :::J 4
                                                                                                                                                                                              of Business In Tius State




0               S Govenunent
                 Defendant
                                                 ::-J 4    D1vers1ty
                                                             (lnd1ca1e   (~mzensh1p   of Parties tn Item III;
                                                                                                                        ( 111zen of Another State                '1 2


                                                                                                                                                                 '.1 3
                                                                                                                                                                                 '.1


                                                                                                                                                                                 'J
                                                                                                                                                                                        2


                                                                                                                                                                                        3
                                                                                                                                                                                            Incorporated and Pnnc1pal Place
                                                                                                                                                                                               of Busmess In Another State

                                                                                                                                                                                            foreign Nauon                                  n    6    a   6


      IV NATLRE OF St:IT (Place a"                            X m One Box Only)                                                                                                   Click here for Nature o f Suit Code Descrmuons
  I               CONTRA<.'T         ;                                         TORTS                                           FORFE tTI;REIPENALTY                                BANKRlPTCY                    OTHER STATUTES·,                             I
      ::-J l JO Insurance                             PERS01'0AL INJlRY                  PERSONAL INJl:R\               '.1 625 Drug Related Seizure                   ::-J 422 Appeal 28 lSC 158                 :::J 375 False Cianns Act
      ::-J 120 Manne                          ::-J    lI 0 Auplane                 '.1 365 Personal ln;ury ·                    of Proper!} 21 L SC 881                ::-J 42 l Withdrawal                       '.1 376 Qm Tam 01            use
      '.1 l 30 lvhller Act                    :1      315 Airplane Product                   Product l 1ab1hty          ::-J 690 Other                                                 28LSC 157                                3729(a))
      ::-J 140 "Jegouable Instrument                         lial:uhty             ::-J 36 7 Health Care:                                                                                                         ::-J    400 State Reapportionment
      .'J 150 Recovery of Overpayment :'.'J           320 Assault, Libel &                   Phannaceulical                                                                    PROPI<:RTY RIGHTS                  ,'J     410 Anlltrust
                & Fnforcemenl of Judgment                    Slander                         Personal ln1ury                                                           ::-J    820 C opynghts                     ::-J    430 Banks and Bankmg
      '.1 151 Medicare A.ct               ::-J        330 Federal Employers                  Product Liab1hty                                                          'J      8.30 Patem                         ::-J    4 50 Commerce
       "J 152 Recovery of Defaulted                          Liability             ::-J 'l68 Asbestos PeNonal                                                          '.1     835 Patent • Abbreviated           'J      460 Deporta1100
                Student Loans             :'.'J       340 Manne                               lnJUJ) Product                                                                        1' e"' Drug Application       ::-J    4 70 Racketeer Influenced and
                (fxcludes Veterans)       '1          34 5 Manne Product                     L1ab1hty                                                                  '.1     840 I'rademark                                  (' orrupt OrgamzatJons
      '.1 l 5 l Recovery of Overpayment                      L1ab1hl)'                 PERSONAL PROPERTY                                 1.ABOR                                S•H IAL'i:ECI'I< y                 :"J     480 Conswner Credit
                of Veteran s Benefits     ::-J        3'.'0 Motor Velucle          '1 3 70 Othe1 Fraud                  ::-J   710 Fau Labor Standards                 :'."l   861 H14.tll95ff)                   ::-J    4 90 Cable/Sat TV
      '.'J 160 Stockholders Smts          :"J         355 Motor Velucle            ::-J 3 71 Truth m Lendmg                          Act                               ::-J    862 Black lWig 19231               ::-J    850 Securiues/C,,mmod1lies/
      'J 190 Other Contract                                 Product Liab1hty       'J 380 Other Personal                'J     720 Laborilvlanagement                  '.J     863DIWC/D/WW1405(gll                             Exchange
      ::-J 195 C onlract Product Liabil•ty    :'."l   360 Other Personal                     Proper!} Damage                         Relations                         '.1     864 SSID I 1tle XVI                '.1     890 Other Statutory Acl1ons
      ::-J 196 Franchise                                    ln;UJ)                 :"J 385 Property Damage              ::-J   740 Rail""ay Labor Act                  :'."l   865 RSI (405(g)I                   :'."l   891 Agncultural Acts
                                              ::-J    362 Pernonal In11uy ·                  Product L1ab1bty           ::J    75 l f amdy and Medical                                                          ~vtro1m1ental Matters
                                                            Medical Malpractice                                                      Lea>e Act                                                                j       eedom of lnfonnahon
  I           REAL PROPERTY                              CIVIL RIGHTS                PRISONER PETITIONS                 ::-J   790 Other Labor l 1ugauon                   FEDERAL TAX St:ITS                 ,       ct
      ::-J 210 Land Condemnaaon               :J      440 Other C1vt I Rights           Habeas Corpus:                  ::J    79! Fmployee Rettrement                 '.1 870 I axes (t: S Plamllff              :j"1'96 Arbitra11on
      '.1 220 Foreclosure                     :J      441 Vohllg                   '.1 463 Allen Detamee                            Income Secunl)' Act                         or Defendant)                     ::J 899 Adm1rustrallve Procedure
      '.1 2.30 Rent Lease & Eiectment         ::J     442 Employment               '.J 510 Motions to Vacate                                                           ::-J 871 IRS-· Tlurd Party                         Act'Review or Appeal of
      'J 240 I orts to Land                   '.1     443 Housmgi                           Sentence                                                                            26 t:SC 7609                                  Agency Decision
      ::-J 24 5 Tort Product liab1!Ity                      AccommodatJ.ons        :"J 530 General                                                                                                                :J 950 Conslltullonahty of
      '.J 290 All Other Real Property         :J      44 5 Amer w/[)isab1haes •    :::J 535 Death Penalty                           IMMIGRATION                                                                               State Statutes
                                                            Employment                  Other:                          ~1     462 "Ja11Itahza1Ion Apphcanon
                                              :J      446 Amer w/D1sab1h11es •     :J 540 Mandamus & Other              :::J   465 Other lnumgrat1on
                                                            Other                  :::J 550 C'ml Rights                            <\Cl!OllS
                                              ::-J    448 Educanon                 :"J 555 Pnson Condmon
                                                                                   ::-J 560 CIVIi Detainee ·
                                                                                             C'ond111ons of

  -                                                                                          Confinement

~IGl!'I ~'~-T mO.,,Bmo,;,,
                t~mal            ::J 2   Removed from                    '.1 3    Remanded from                  'J   4 Remstated or               '.1 5   Transferred from                 '.1 6 Mult1d1StfJCt                  '.1 8   Mult1d1stnct
               •1 ceed1ng                State Court                              Appellate Court                       Reopened                           Another Distnct                         L1t1gat1on •                          L1ttgat10n •
                                                                                                                                                           (specify!                               Transfer                              DJTect File
                                                       Cite the   L S C" ii    Statute under which you are f,lmg (Do 1101 ctfl! jurtsdictio11al statutes u11less diversit}J

      VI. CAUSE OF ACTION                              in~~es~n;~~nofcause
      VII. REQL'ESTED l:N                              ,Plaintiffs seek records responsive
                                                            CHECK JF THIS IS A CLASS ACTIO'li
                                                            lJ'\IDER Rl:LE 23. F R Cv P
                                                                                                                to FOIA        requests
                                                                                                                               DEMANDS                                                   CHFCK YES only 1fdemande~Timp~,"\
                                                                                                                                                                                                            '.1 Ye
                                                                                                                                                                                                                                               -
           COMPLAINT:                                                                                                                                                                    JVRY DEMA:"iD:             )?!No

      VIII. RELATED CASE(S)
                                                           (See mstrm t1ons1
                                                                                                                                                                                                                                    '---../
            IFANY                                                                  JUDGE                                                                                       DOCKET NUMBhR

      DATE                                                                              Sl<JJ\OATlRI OF ATT                                    D
      03/17/2019
      FOR OFFICE VSE ONLY

         RECEIPT#                        AMOt.:NT                                            APPL YING JrP                                            Jt:DGE                                       MAG Jl:DGE.             ~R-' {j_
                                                                  .           Fa
                                       Case 2:19-cv-01163-WB Document 1 Filed 03/19/19 Page 8 of 9
                                                              \                     ·r     D STATES
                                                                                                         0
                                                                                                        D~STRICT
                                                                                                              COL'RT
                                                                                         • TER"i DISTRICT OF PEJ\i'.'ISYLV,\,"ilA

                                                                                           DESJG:'liA.TIO'\l FOR\1
                            (IO   be used by counsel or pro se Rj_mmr/J to indicate the category of the case for the purpose of assignment to the appropriate calendar)
                                              Darnel Manatt. 440 Highland Ave Bethesda. MD 20814 /Garen Meguetian 129 Magnolia Dr. Phoenixville. PA 19460
 Address of Plaintiff-
                                           USDHS. 301 7th St SW. Washington, DC 20528 / USCIS, 20 Massachusetts Ave NW. Washington. DC 20529
 Address of Defendant:

 Place of Accident, Incident or Transaction: .                                                                    Pennsylvania I DC


 RELATED CASE, IFANY:

 Case Number                                  NIA                              Judge. __                                                   Date Termmated

 Civil cases are deemed related when Yes 1s answered to any of the followmg questions

          Is this case related to property mcluded man earlier numbered suit pendmg or withm one year                                            YesD           NoD
          prev10usly termmated action m this court 9

 2        Does this case mvolve the same rnsue of fact or grow out of the same transact10n as a pnor suit                                        YesD           ~OD
          pendmg or within one year prev10usly termmated act10n m this court?

 3        Does this case involve the val1d1ty or mfrmgement of a patent already m suit or any earlier                                            YesO           ~oo
          numbered case pendmg or withm one year prev10usly termmated act10n of this court9

 4        Is this case a second or successive habeas cor                                                                                         YesD           NoD


                                                                                 0       is not r,,elated to any case no,~endmg or withm one year previously termmated act10n m
                                                                                           (J                   /---
                                                                              - -        - ("     ~----
                                                                                          Attorney-at-law.' Pro Se Plamtrf!
                                                                                                                               - -                  78588
                                                                                                                                                     Attorney ID   #   fif applicable)


 CIVIL: (Place a" in one category only)

A.                Federal Question Cases.                                                                  B.    Diversity Jurisdiction Cases.

01                lndemmty Contract, Marme Contract, and All Other Contracts                               DI         Insurance Contract and Other Contracts
D         2       fELA                                                                                     D 2        Airplane Personal Injury
D         3       Jone~ Act-Personal Injury                                                                D 3.       Assault, Defamation
D         4       Antitrust                                                                                D 4        Marine Per'>onal lnJUT)

B~
D         7
                  Patent
                  Labor-Management Relat10ns
                  Cm! Rights
                                                                                                           05
                                                                                                           D 6
                                                                                                           D 7
                                                                                                                      Motor Vehicle Personal Injury
                                                                                                                      Other Personal Injury (Please specify)
                                                                                                                      Products Liah1hty
                                                                                                           D s


I~~
                  Habeas Corpus                                                                                       Products Liab1hty - Asbestos
                  Secunt1es Act(s) Cases                                                                   D 9        All other D1vers1ty Cases
                  Social Secunty Rev1e"' Cases                                                                        (Please specify) _
                  All other Federal Quest10n Cases
                  (Please specify;            FQJA_ - 5 U §_ C_ 552



                                                                                           ARBITRA TIO"i CERTIFKAl IO'.'><
                                                            (The effect ofthzs ceruficatwn zs to remove the case from ellg1b1/Jty for arbitration)


 l.
                    Garen Meguerian                                   _ _,counsel ofrecord or pro se plaintiff. do hereby cert11)




  @
                    ursuant to Local C1v1l Rule 53 2, § 3(c) (2), that to the best of my knowledge and belief. the damages recoverable m this c1"1l action case
                    xceed the sum of $150,000 00 exclusive of mterest and costs

                        ehef other than monetary damages 1s sought                         f .~             ---- ___ --._,
 DATE         03/17/2019                                                                   (~~€-                 ___
                                                                                          Attorney-az-Law 1 Pro Se Plaznllff
                                                                                                                                                            78588
                                                                                                                                                    Attorney ID # (if applicable)

 NOT'F A tnai de novo Will be a tnal by JU') only 1fthere has been comphance with FR C P 38

( t»   609 r5'20 I 8)
           Case 2:19-cv-01163-WB Document 1 Filed 03/19/19 Page 9 of 9

                           I~ T              STATES DISTRICT COURT
                        FOR THE   EASTER~    DISTRICT OF PE~~SYL VANIA

                       CASE    MA~AGEMENT        TRACK DESIGNATION FOR1\1
 Daniel Manatt & Garen Meguerian                                            CIVIL ACTION

                         V.
  CS. Department of Homeland Security and
                                                                                             1169
  CS Citizenship and Immigration Services                                   NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case :vlanagement Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (Sec§ 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT          O~E   OF THE   FOLLOWI~G    CASE   MANAGEME~T          TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                            ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                  ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.      ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                             )

(c) Special ::vlanagcment - Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

(f) Standard Management - Cases that do not fall into any one of the other tracks.



3/17/19                           Garen Meguerian                   Plaintiffs Manatt & Meguerian
Date                                Attorney-at-law                     Attorney for

 610.590.2176                     480.247.5804                         gm@garenmlaw.com

Telephone                           FAX ~umber                          E-Mail Address


(Civ. 660) I 0/02
